Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1165 Page 1 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1166 Page 2 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1167 Page 3 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1168 Page 4 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1169 Page 5 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1170 Page 6 of 7
Case 2:13-cr-06053-EFS   ECF No. 248   filed 07/25/14   PageID.1171 Page 7 of 7
